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 6
                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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 9
      LENNY BRIKN, JR.,

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                           Petitioner,
                                                              No. C16-1042RSL
11
                    v.

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      UNITED STATES OF AMERICA,                               ORDER DENYING MOTION
                                                              TO VACATE, SET ASIDE, OR
13
                           Respondent.                        CORRECT A SENTENCE BY A
                                                              PERSON IN FEDERAL CUSTODY
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            This matter comes before the Court on Petitioner’s “Motion Under 28 U.S.C. § 2255 to
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     Vacate, Set Aside, or Correct a Sentence by a Person in Federal Custody.” Dkt. # 1. In
16
     September 2014, Petitioner was sentenced to 84 months’ imprisonment and a five-year term of
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     supervised release for violating 18 U.S.C. § 924(c)(1)(A)(ii). This conviction was based on the
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     conclusion that Petitioner’s underlying conduct constituted “crime[s] of violence” (conspiracy to
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     commit robbery and attempted robbery under 18 U.S.C. §§ 1951(a), -(b)(1)) and a “drug
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     trafficking crime” (attempted possession of marijuana with intent to distribute under 21 U.S.C.
21
     §§ 846, 841(a)(1), -(b)(1)(D)). Petitioner now challenges the portion of his Section
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     924(c)(1)(A)(ii) sentence that is predicated on the “crime[s] of violence” and seeks resentencing
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     in light of the Supreme Court’s recent decisions in Johnson v. United States, 135 S. Ct. 2551
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     (2015), and Welch v. United States, 136 S. Ct. 1257 (2016).
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     ORDER DENYING MOTION TO
27   VACATE, SET ASIDE, OR CORRECT
     A SENTENCE BY A PERSON IN
28   FEDERAL CUSTODY - 1
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 1         The United States opposes Petitioner’s motion, noting correctly that Johnson does not
 2   affect whether Petitioner’s predicate conduct constituted “crime[s] of violence.” Dkt. # 5. At
 3   least one of the predicate offenses that Petitioner contests—attempted robbery—remains a
 4   “crime of violence” under 18 U.S.C. § 924(c)(3)(A), a provision untouched by Johnson. Thus
 5   Johnson does not affect Petitioner’s conviction and sentence under Section 924(c)(1)(A)(ii).
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 7         Accordingly, Petitioner’s motion to vacate, set aside, or correct his sentence is DENIED.
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11         DATED this 12th day of September, 2016.
12

13                                            A
                                              Robert S. Lasnik
14                                            United States District Judge
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     ORDER DENYING MOTION TO
27   VACATE, SET ASIDE, OR CORRECT
     A SENTENCE BY A PERSON IN
28   FEDERAL CUSTODY - 2
